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                 EXHIBIT B-119
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                      IN THE SUPERIOR COURT OF FULTON COUNTY
                                  STATE OF GEORGIA



 IN RE 2 MAY 2022          SPECIAL    PURPOSE       2022-EX-000024
 GRAND JURY




                                            RULE NISI

       PLEASE TAKE NOTICE that a hearing on the District Attorney's Motion to Disqualify Attorneys

Holly A. Pierson and Kimberly Bourroughs Debrow in their Simultaneous Representation of Mark Amick,

Joseph Brannan, Brad Carver, Vikki Townsend Consiglio, John Downey, Carolyn Hall Fisher, Gloria Kay

Godwin, Cathleen Alston Latham, David Shafer, Shawn Still, and C.B. Yadav is set before Judge Robert



       SO ORDERED this 24 th day of October 2022.




                                                      Superior Court of Fulton County
                                                      Atlanta Judicial Circuit
